Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.176 Page 1 of 23




                     EXHIBIT 8
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.177 Page 2 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.178 Page 3 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.179 Page 4 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.180 Page 5 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.181 Page 6 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.182 Page 7 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.183 Page 8 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.184 Page 9 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.185 Page 10 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.186 Page 11 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.187 Page 12 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.188 Page 13 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.189 Page 14 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.190 Page 15 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.191 Page 16 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.192 Page 17 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.193 Page 18 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.194 Page 19 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.195 Page 20 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.196 Page 21 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.197 Page 22 of 23
Case 1:14-cv-01302-PLM ECF No. 25-9 filed 03/24/16 PageID.198 Page 23 of 23
